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           IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:05CR145
                              )
          v.                  )
                              )
CAESAR HINOJOSA,              )                        ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to suppress evidence (Filing No. 46) and the report and

recommendation of the magistrate judge (Filing No. 63).               The

Court notes that no objections were filed to said report and

recommendation.

          The Court has conducted a review of the transcript

(Filing No. 54) and the report and recommendation of the

magistrate judge and finds that the report and recommendation

should be approved and adopted by the Court for the reasons

stated by the magistrate judge in his opinion.            Accordingly,

          IT IS ORDERED:

          1) The report and recommendation of the magistrate

judge is approved and adopted.

          2) Defendant’s motion to suppress is denied.

          3) Trial of this matter is scheduled for:

                  Monday, September 19, 2005, at 9 a.m.,

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       The ends of justice will be

served by continuing this case and outweigh the interests of the
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public and the defendant in a speedy trial.            The additional time

between August 22, 2005, and September 19, 2005, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 22nd day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
